
PER CURIAM:
Claimant, Mildred Mitchell-Bateman, M.D., Director of the West Virginia Department of Mental Health, alleges that she is entitled to receive the sum of $2500.00 by reason of an increase of her salary from $22,500 to $25,000 a year for her services as Director for the fiscal year July 1, 1973 to June 30, 1974, pursuant to the amendment of Chapter 6, Article 7, Section 2a by the 1973 Legislature, effective July 1, 1973.
As the facts alleged and the amount claimed are stipulated as true and correct by both claimant and counsel for the respondent, the claimant is hereby awarded the sum of $2500.00.
Award of $2500.00.
